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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


TEXAS MEDICAL ASSOCIATION,         )
et al.,                            )
                                   )
          Plaintiffs,              )
                                   )                   Civil Action No. 6:22-cv-00372-JDK
     v.                            )
                                   )
UNITED STATES DEPARTMENT OF        )
HEALTH AND HUMAN SERVICES, et al., )
                                   )
          Defendants.              )
                                   )

   AMICUS CURIAE BRIEF BY PHYSICIANS ADVOCACY INSTITUTE, 14 STATE
     MEDICAL ASSOCIATIONS, AND 16 MEDICAL SPECIALTY SOCIETIES
      IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to the Court’s briefing order of October 4, 2022 (docket #7), Physicians

Advocacy Institute (“PAI”), 14 state medical associations1, American Association of

Neurological Surgeons, Congress of Neurological Surgeons, and 14 other medical specialty

societies2 hereby submit this friend-of-the-court brief in support of plaintiffs’ motion for

summary judgment (docket #41).


       1
         The 14 amici state medical associations include: 1) California Medical Association, 2)
Connecticut State Medical Society, 3) Medical Association of Georgia, 4) Kentucky Medical Association,
5) Massachusetts Medical Society, 6) Michigan State Medical Society; 7) Nebraska Medical Association,
8) Medical Society of New Jersey, 9) Medical Society of the State of New York, 10) North Carolina
Medical Society, 11) Oregon Medical Association, 12) South Carolina Medical Association, 13)
Tennessee Medical Association, and 14) Washington State Medical Association.
       2
         The 16 amici specialty medical societies include: 1) Texas Association of Neurological
Surgeons, 2) Texas College of Emergency Physicians, 3) Texas Orthopaedic Association, 4) Texas
Radiology Society, 5) Texas Society for Gastroenterology and Endoscopy, 6) American Association of
Neurological Surgeons, 7) Congress of Neurological Surgeons, 8) American Academy of
Otolaryngology-Head and Neck Surgery, 9) American Association of Orthopaedic Surgeons, 10)
American College of Hyperbaric Medicine, 11) American College of Surgeons, 12) American
Osteopathic Association, 13) American Society of Plastic Surgeons, 14) Colorado Society of
Anesthesiologists, 15) Illinois Society of Anesthesiologists, and 16) North American Spine Society.
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                                      INTRODUCTION

       Earlier this year, this Court invalidated parts of an interim final rule promulgated by the

defendants (collectively, the “Departments”) that effectively made the Qualifying Payment

Amount (“QPA”) the default level of payment to out-of-network providers for disputed

payments for services covered by the No Surprises Act (“NSA”). The amici parties again support

the plaintiffs’ instant challenge of a renewed attempt by the Departments to once again elevate

the QPA in the independent dispute resolution (“IDR”) process established by the NSA.

       The Departments’ final administrative rule, Requirements Related to Surprise Billing, 87

Fed. Reg. 52618 (August 26, 2022) (the “Final Rule”), disclaims any intent to impose a

presumption in favor of the QPA. However, the Final Rule continues to require the QPA to be

considered first, before the other factors, and places significant limitations on the weight an

arbiter may give to evidence of the other statutorily prescribed factors. The Final Rule thus

subtly relies on “anchoring bias” to favor the QPA, which, in effect, functions as the very

rebuttable presumption that this Court previously rejected.

       Cognitive science researchers have well-documented that persons who are asked to make

a value judgment are heavily influenced, if not predisposed to a certain result, when the form or

format of the question they face creates an “anchor” over a specific value. The Final Rule

“anchors” the QPA in the IDR process to all but ensure that arbiters will choose the QPA.

       Precisely because of this reliance on anchoring bias, the Departments’ attempt to elevate

the QPA in the Final Rule is more pernicious than the rebuttable presumption employed in the

IFR. Elevation of the QPA creates a de facto out-of-network rate that governs the relationship

between health insurers and providers. Such an outcome directly contradicts the law and




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Congress’ intent to create a fair and open IDR process, which would have disastrous effects in

the marketplace for health care services and, ultimately, on patient care.

       Congressional leaders lauded the bipartisan passage of the No Surprises Act (“NSA”) as

a “free-market solution that takes patients out of the middle and fairly resolves disputes between

plans and providers,” while emphasizing that the NSA’s “text includes NO benchmarking or

rate-setting.” (emphasis in original) The Departments’ Final Rule, however, impermissibly

violates Congress’ intent and the clear statutory provisions governing the IDR process.

                      INTERESTS OF THE PHYSICIAN AMICI

       The Physicians Advocacy Institute (“PAI”) is a not-for-profit organization formed

pursuant to a federal district court settlement order in multidistrict class action litigation brought

by physicians and state medical associations based on systemic unfair payment practices by the

nation’s largest for-profit insurers. Consistent with the terms of that court order, PAI’s mission is

to advance fair and transparent payment policies and contractual practices by payors, in order to

sustain the practice of medicine for the benefit of patients. PAI champions policies to allow

physicians to sustain independent medical practices, which are a cornerstone for delivering care

in our health care system, particularly in underserved and rural areas. For the past decade,

physicians have grappled with increasingly complex payment policies by government and

private payors. PAI develops free educational resources, tools, and market information to support

practices as they navigate these programs and the administrative burdens and costs. PAI’s

research shows how challenging it has been for independent practices to survive.

       Amici 16 medical specialty societies are also nonprofit organizations that promote

research, education, and the highest level of quality care in specific medical specialties.

Collectively, these specialty societies have almost 360,000 members throughout the United




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States or the world, with board specializations or equivalent recognition of the greatest degree of

training and excellence in a field of medicine. For decades these organizations have advanced

their specialty fields through education, outreach, and advocacy, including advocacy before

federal and state courts and legislatures to ensure fair reimbursement that bolsters sustainable

specialty practices in all modes and settings for the benefit of patients. More detail about each

specialty society is provided in the Appendix hereto.

       Amici 14 state medical associations are each nonprofit associations for physicians at

every stage of their careers — medical students, interns, residents, and practicing or retired

physicians. They collectively are comprised of nearly 195,000 members across America

practicing medicine in every mode and setting imaginable. The state associations work toward

advancing the science and art of medicine by, inter alia, helping physicians sustain viable

medical practices and challenging unfair payor practices and policies to protect patient access to

medical care. More detail about each state association is provided in the Appendix hereto.

                                         DISCUSSION

  I.   This Court Vacated the Portions of the October 7, 2021, Interim Final Rule that
       Imposed a Rebuttable Presumption in Favor of the QPA.

       The previous lawsuit brought by TMA successfully challenged an earlier rule issued by

the Departments implementing the IDR process. See Requirements Related to Surprise Billing:

Part II, 86 Fed. Reg. 55,980 (Oct. 7, 2021) ( “IFR”). The IFR imposed a “rebuttable

presumption” that the offer submitted in an IDR proceeding that is closest to the QPA is the

appropriate out-of-network rate. 86 Fed. Reg. at 56,056-61. In an order dated February 23, 2022,

this Court held that the QPA rebuttable presumption was an “unlawful” attempt to “rewrite[]

clear statutory terms.” Texas Med. Ass’n v. United States Dep’t of Health & Hum. Servs., --

F.Supp.3d --, 2022 WL 542879, at *8 (E.D. Tex. 2022) (the “TMA I” ruling). This Court further




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determined that the Departments failed to comply with the notice-and-comment requirement of

the Administrative Procedure Act. Id. at *9-*14. On these two separate and independent bases,

the Court vacated the portions of the IFR that established the QPA rebuttable presumption.

        Crucial to this Court’s ruling in TMA I was its close reading of the statutory factors that

all arbiters must consider. This Court rejected the Departments’ argument that the QPA was

“entitled to more weight simply because it is the first in [the] list.” Id. at *8. As this Court

observed, “[a] statute’s ‘lack of text’ is sometimes ‘more telling’ than the text itself” — and in

this instance, the NSA “nowhere states that the QPA is the ‘primary’ or ‘most important’ factor.”

Id. (citing Gulf Fishermens Ass’n v. Nat'l Marine Fisheries Serv., 968 F.3d 454, 460 (5th Cir.

2020)). This Court further rejected the idea that Congress had dictated a “procedural order” for

considering the statutory factors. Id. It also rejected any rationale for de-prioritizing the factors

other than the QPA. “If Congress had wanted to restrict arbitrators’ discretion and limit how they

could consider the other factors, it would have said so—especially here, where Congress

described the arbitration process in meticulous detail.” Id.

        The Departments responded to this Court’s ruling in TMA I by promulgating the Final

Rule. However, the Final Rule continues to violate the NSA’s statutory language for the same

reasons explained by this Court in TMA I.

 II.    The Final Rule Should Be Vacated for All the Reasons Set Forth in Plaintiffs’
        Motion for Summary Judgment, Which Detail Why the QPA Continues to Be
        Improperly Elevated Over all Other Factors.

        The Final Rule disclaims any intent to establish a presumption in favor of the QPA. See

87 Fed. Reg. at 52, 631. It nonetheless elevates the QPA in ways that directly violate this Court’s

earlier ruling. This is particularly true given the important phenomenon known as “anchoring

bias,” which is discussed in section III, infra.




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        The Final Rule first requires that arbiters “must consider the QPA for the applicable year

for the same or similar item or service” before considering any other factor. Id. at 52628; 45

C.F.R. § 149.510(c)(4)(iii)(A).3 Only after the QPA is considered may the arbiter “then . . .

consider all additional information submitted by a party.” 87 Fed. Reg. at 52628 (emphasis

added); accord 45 C.F.R. § 149.510(c)(4)(iii)(B) (“The certified IDR entity must then consider

information submitted by a party that relates to” the other factors) (emphasis added). As this

Court previously recognized, the statutory text of the NSA does not prescribe any “procedural

order” for the factors considered by the arbiter, much less a bifurcated order that isolates and

elevates the QPA over all other relevant factors. TMA I, 2022 WL 542879 at *8.

        The Final Rule additionally imposes three separate, extra-statutory hurdles to the

consideration of evidence of the other factors. The first hurdle is that evidence of the other

factors — but not the QPA — may not be given weight unless the arbiter finds them to be

“credible.” 87 Fed. Reg. at 52652. The QPA, by contrast, is automatically deemed “credible.” Id.

at 52627 n.31 (it is not the arbiter’s “responsibility” to “monitor the accuracy” of the insurer’s

QPA calculation). As this Court previously observed, the QPA is an “insurer-determined

number” over which insurers have the “ultimate say.” TMA I, 2022 WL 542879 at *2.

        The second newly imposed obstacle to the consideration of evidence directed to factors

other than the QPA is that such evidence must “relate[] to the offer[s] submitted.” 87 Fed. Reg.

at 52652; 45 C.F.R. §149.510(c)(4)(iii)(E). For instance, unless an arbiter determines that

evidence of the provider’s level of training and experience was “necessary” to provide a

particular service or “made an impact on the care that was provided,” it cannot be considered. 87



        3
         All cites are to the version of the regulation made effective on October 25, 2022, pursuant to the
Final Rule.




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Fed. Reg. at 52629; 45 C.F.R. §149.510(c)(4)(iv) (text of examples). The final new obstacle is

that evidence of other factors may not be considered to the extent the arbiter determines that such

evidence “is already accounted for” in the calculation of the QPA. 87 Fed. Reg. at 52653; 45

C.F.R. §149.510(c)(4)(iii)(E). These new hurdles are found nowhere in the statute. They thus

violate the NSA’s plain command that arbiters “shall consider” evidence of other factors, such as

the provider’s level of training and experience. 42 U.S.C. § 300gg-111(c)(5)(C)(i),(ii)(I)-(V).

       On top of all this, there is personal pressure on arbiters to tilt toward the QPA. The Final

Rule requires that all arbiters issue a written decision. However, a greater burden is imposed if an

arbiter does not select the QPA in resolving a dispute. In such cases, the arbiter’s “written

decision must include an explanation of why the certified IDR entity concluded that this

information was not already reflected in the QPA.” 87 Fed. Reg. 52632; 45 C.F.R.

§149.510(c)(4)(vi)(B). The path of least resistance, therefore, is for the arbiter to select the QPA

and avoid having to present detailed justification for a decision that does not center on the QPA.

Together, all these requirements in the Final Rule subtly incentivize arbiters to select the QPA.

       Plaintiffs’ motion for summary judgment in this case establishes that in issuing the

challenged portions of the Final Rule, the Departments have exceeded the powers granted to

them under the NSA and have violated the Administrative Procedure Act. It is particularly

important, however, to understand precisely why all these unlawful requirements imposed on the

IDR amount to “a substantial thumb on the scale in favor of the QPA” (to use the Court’s

phrase), even though they do not purport to be an explicit rebuttable presumption. TMA I, 2022

WL 542879. The cognitive science concept of anchoring bias explains why this is so.




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III.   Anchoring Bias Is Subtler Yet Stronger than the Use of an Express Rebuttable
       Presumption to Elevate the QPA.

       A.        Anchoring Bias is a Well-Documented Cognitive Phenomenon that Can Yield
                 Predictable Results.

       “Anchoring bias” is the cognitive function whereby people who are tasked with

exercising judgment to determine or estimate a numerical value can be heavily influenced, if not

pre-conditioned, to a specific result based on the presence of an “anchor” value – a number that

is subtly weighted based on how it is presented, e.g., first in a list of options.4 The concept of

anchoring has been known to cognitive scientists for over fifty years.5 It has been explored in

hundreds of published, peer-reviewed academic papers. A widely cited 1974 paper by Tversky

and Kahneman described anchoring bias as when “people make estimates by starting from an

initial value [i.e., the anchor] that is adjusted to yield the final answer,” but the adjustments do

not stray too far from the initial value.6 Researchers have found that anchoring bias persists even

when the anchoring information is arbitrary or even entirely random.7

       In an experiment cited by Tversky and Kahneman, people were asked to estimate the

percentage of African countries in the United Nations. Researchers “sp[un] a wheel of fortune in

the subjects’ presence,” which resulted in a number between 0 and 100. The researchers found

that “these arbitrary numbers had a marked effect” on the estimates given. “For example, the

median estimates of the percentage of African countries in the United Nations were 25 and 45 for




       4
         Tversky, Amos; Kahneman, Daniel (September 1974). “Judgment under Uncertainty: Heuristics
and Biases.” Science. 185 (4157): 1124–31, available online here.
       5
         Sherif, Muzafer; Taub, Daniel; Hovland, Carl I. (1958). “Assimilation and contrast effects of
anchoring stimuli on judgments.” Journal of Experimental Psychology. 55 (2): 150–155, available online
here.
       6
           Tversky and Kahneman, fn. 4, supra, at 1128.
       7
           Id.




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groups that received 10 and 65, respectively, as starting points.”8 In another study, “estimates of

an athlete’s performance were influenced by the number on his jersey.”9 Thus, the order in which

choices or cues are presented significantly influences the decisionmaker.

        The framing of the question also matters. One study asked participants whether Mahatma

Gandhi died before or after age 9, or, in the alternative, before or after age 140.10 While both ‘9’

and ‘140’ are implausible anchors, the respondents in the first group gave an average age of 50,

while those in the second group gave an average age of 67.11

        Anchoring bias has been replicated in a wide range of contexts. Relevant here, the effect

is readily apparent in real-world scenarios relating to monetary price or valuation. For instance,

the effects of anchoring bias have been found in a study of mock juries that were given either a

“low anchor” ($50,000) or a “high anchor” ($1.5 million) and then asked to determine an award

to compensate a personal injury plaintiff.12 The study found that the anchor influenced damage

awards, even without the mock jurors knowing it. Another study found that stock investors

valued publicly traded companies that had higher stock prices more highly — even though there

is not necessarily any correlation between the two.13 Even having expertise in the area of

evaluation is not enough to avoid anchoring bias. For instance, researchers conducted studies that


        8
            Id.
        9
         Critcher, Clayton R.; Gilovich, Thomas. (October 30, 2007). “Incidental environmental
anchors.” Journal of Behavioral Decision Making. 21(3). Abstract available here.
        10
          Mussweiler, Thomas; Strack, Fritz (1999). “Hypothesis-Consistent Testing and Semantic
Priming in the Anchoring Paradigm: A Selective Accessibility Model.” Journal of Personality and Social
Psychology. 73 (3): 437–446. Abstract available here and article available here.
        11
             Id. at 442.
        12
          Krystia Reed, Valerie P. Hans & Valerie F. Reyna, “Accounting for Awards: An Examination of Juror
Reasoning behind Pain and Suffering Damage Award Decisions,” 96 DENVER L. REV. 841, 849 n.50 and 865-66
(2019).
        13
          Disli, Mustafa; Inghelbrecht, Koen; Schoors, Koen; Stieperaere, Hannes. (February 12, 2021).
“Stock Price Anchoring.” SSRN. Available online here.




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asked students and professional real estate agents to tour and then appraise the value of real

estate properties.14 The test subjects were provided with various listing prices before being asked

to give their appraisal. The study found that both subject populations were “significantly biased”

by the listing prices even though the agents — who ostensibly had more expertise in real estate

— “flatly denied” it.15

        The Final Rule presents a classic example of anchoring bias when it asks arbiters to

consider the QPA first and in isolation from any other factors in choosing between the QPA and

a competing offer presented by a provider. Research on anchoring bias instruct that arbiters will

be heavily influenced by the QPA at a subconscious level.

        B.         Anchoring Bias Will Poison IDRs Conducted Pursuant to the Final Rule to
                   Favor the QPA.

        Given the QPA’s outsize influence in IDR, it is problematic that insurers have unilateral

and unquestioned control over setting the QPA. Providers have limited insight into how the QPA

was calculated.16 Neither is the arbiter. See Final Rule, 87 Fed. Reg. at 52,627 n.31 (“[I]t is the

Departments’ . . . responsibility, not the [arbiter]’s, to monitor the accuracy of the . . . QPA”)

Unless an arbiter is free to weigh the evidence of all the factors (as well as any additional

evidence requested by the arbiter) as it sees fit, the entire IDR process becomes biased in favor of

the payors who alone determine the QPA. Such government-sponsored rate-setting is directly

contrary to the plain language of the NSA and the intent of Congress in enacting that law.



        14
           Northcraft, Gregory B.; Neale, Margaret A. (February 1987.) “Experts, amateurs and real
estate: An anchoring-and-adjustment perspective on property pricing decisions.” Organizational
Behavior and Human Decision Processes. Available online here.
        15
             Id. at 95.
        16
          See 45 C.F.R. § 149.140(d)(2) (requiring insurers to disclose only whether the relevant QPA
was calculated using not contracted rates, but rather using an “eligible database” of health care charges
and payments or an “underlying fee schedule rates or a derived amount”).




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       Viewed in this light, the processes and procedures set forth in the Final Rule will

necessarily result in a flawed process in which arbiters pick the QPA virtually all the time. After

all, the Rule requires arbiters to first start with the QPA and only the QPA. By forcing arbiters to

anchor solely to the QPA and then make adjustments only after the fact, the Final Rule all but

ensures that the arbiter will pick the offer closest to the QPA. After all, one of the new

requirements imposed by the Final Rule is that arbiters may not give any weight to evidence of

other factors that is “already accounted for” in the QPA.

       The fact that the IDR is structured as a “baseball arbitration” in which the arbiter must

pick one offer or the other only heightens the effect of the anchoring bias in favor of the QPA.

As plaintiffs’ evidence on summary judgment establishes, providers and facilities will almost

always pick an offer that is significantly higher than the QPA. Payors, in contrast, will tend to

pick an offer set right at the QPA. Thus, the arbiter’s decision-making process will frequently

begin already anchored to one of the two offers, e.g., the QPA itself.

       The icing on the cake to elevate the QPA is the Departments’ new written decision

requirement. While the Departments insist that a written decision is required in all cases, the fact

remains that the arbiter must only provide additional written justification if it bases its decision

on evidence of any of the factors other than the QPA. 87 Fed. Reg. 52632; 45 C.F.R.

§149.510(c)(4)(vi)(B). Given what the Departments themselves admit is a tremendous backlog

of IDRs, it is highly unlikely that an arbiter will do the extra work necessary to write a more

comprehensive written decision when it can be avoided. The QPA will therefore become what

Congress never intended it to be: a de facto regulation of the prices that providers and facilities

may be paid for eligible items and services.




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IV.    As Did the IFR, the Final Rule Will Embolden Health Insurer Overreach and
       Dominance in Contract Negotiations to the Detriment of Patient Access to High
       Quality Care.

       During legislative deliberations over the NSA, Congress listened to patient and provider

organizations’ warnings that relying too heavily on insurer-determined rate-setting in resolving

out-of-network payment disputes would diminish and disrupt patients’ access to affordable,

quality health care, especially in rural and underserved urban areas that already struggle with

accessibility. Congressional members from both chambers drew on such concerns when they

criticized the imbalanced IDR process in the IFR that created an explicit rebuttable presumption

in favor of the QPA:

       This approach is contrary to statute and could incentivize insurance companies to set
       artificially low payment rates, which would narrow provider networks and jeopardize
       patient access to care – the exact opposite of the goal of the law. It could also have a
       broad impact on reimbursement for in-network services, which could exacerbate existing
       health disparities and patient access issues in rural and urban underserved communities.17

More than half the Senate also wrote to the Departments to object to an approach that elevated

the QPA, noting “[i]n no way does the [NSA] privilege any one rate in the IDR process, but

rather establishes an open and robust dispute resolution process in which each factor is given

equal weighting.”18 The Senators were “very concerned” that an elevated QPA would implement

“a benchmark payment . . . policy which Congress debated and ultimately rejected because of

concerns it created around rural access and narrow networks.” Id. These same concerns apply

with equal force to the Final Rule because, like the IFR, the Final Rule continues to artificially

favor the QPA as a de facto benchmark for reimbursement rates.




       17
            Letter from Congressional members to Defendants (dated Nov. 5, 2021), available online here.
       18
            See Senate Republicans’ Ltr. to Departments (dated Dec. 28, 2021), available online here.




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        A.      Provider Networks will Deteriorate as Physician Practices and Other Health
                Care Providers Face Widespread Under-Compensation.

        Elevating the QPA, as the Departments have in the Final Rule, will, in effect, set the

ceiling for all out-of-network payments at the insurer-established in-network median rate. This

all but ensures that physicians and other health care providers will be routinely under-

compensated across the board — for both out-of-network and in-network services, as payors

leverage the NSA to drive down contracted rates. The QPA is an insurer-determined figure that

generally represents the insurers’ historic contract rates adjusted only for inflation. See 42

U.S.C. § 300gg-111(a)(3)(E)(i). These contract rates are discounts off the fair market rates that

providers would receive in exchange for the benefits of being in an insurer’s network. Such

discounted rates are not appropriate measures for resolving out-of-network disputes because they

give insurers the windfall of a discounted rate while depriving providers of the benefits of

network participation.

        Health insurers have, and will continue, to use an elevated QPA for leverage in contract

negotiations with providers. Their rationale is obvious and almost unassailable — if providers do

not accept a contract rate that the insurer deems appropriate, the insurer could walk away and

rely on the provider’s services on an out-of-network basis. If the provider refuses to accept the

insurer’s reimbursement on a particular claim, the insurer could ultimately claim its average

contract rate because arbiters in the IDR process under the Final Rule would likely determine

that the insurer’s QPA applies to the claim in dispute.19


        19
           Citing the rebuttable presumption favoring the QPA in the IFR, North Carolina’s largest
commercial health insurer claimed in a letter to a contracted physician practice that “this new federal law
allows a significant change to [our] contracting approach,” and the insurer now is “able to seek to contract
at a rate more in line with what we consider to be a reasonable, market rate.” See BlueCross BlueShield of
North Carolina letter to Contracted Provider (Nov. 5, 2021), available online here. Such deference to the
QPA, according to the insurer, “provide[s] enough clarity to warrant a significant reduction in your
contracted rate.” Id. The insurer thereupon made a demand that the physicians immediately accept a 15%



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       Inadequate compensation to providers threatens the long-term sustainability of physician

practices, particularly small, independent practices that serve rural communities and

underserved, dense urban neighborhoods. This will allow insurers to shrink already narrow

provider networks, thus deteriorating the accessibility and quality of health insurance coverage

for beneficiaries. More services will only be available on an out-of-network basis in many areas

of the country, and the services that are accessible by in-network providers will be subject to

longer wait times and more administrative hurdles.

       When medically necessary in-network care is no longer available or illusory, patients will

be forced to seek services out-of-network, resort to emergency rooms for their care, or forego

medical care altogether — outcomes that run entirely contrary to the goals of the NSA. Patients

also may incur much higher out-of-pocket costs, which makes receiving some health care cost-

prohibitive for those with high-deductible plans.

       B.      Access to Safety Net Providers and Critically Needed Specialists will be
               Jeopardized in Certain Communities.

       Safety net providers such as emergency department physicians and hospital-based

specialists are particularly vulnerable to the market impacts that will result from the

Departments’ Final Rule. Insurers see providers in these specialties as fungible. This means that

these providers will become the first to be shed from provider networks due to low-ball rate

negotiation tactics or outright ouster by insurers.20 Specialty physicians are already in short



rate reduction or face near immediate termination from its provider network. Many amici have received
reports from their members of similarly sharp negotiating tactics, albeit perhaps not as blatant.
       20
          California’s experience with its surprise billing law substantiates these concerns. A RAND
Study found that “[p]hysicians in anesthesiology, radiology, and orthopedic practices reported
unprecedented decreases in payors’ offered rates and less interest in contracting since [California’s
surprise medical billing law] was passed into law.” Erin Lindsey Duffy, “Influence of Out-of-Network
Payment Standards on Insurer-Provider Bargaining, California’s Experience” AMERICAN J. OF MANAGED
CARE (Aug. 23, 2019) at 1 (“RAND Study”), available online here.




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supply in many parts of the country, and such shortages are projected to worsen over the coming

decade.21 These physician workforce challenges will only be exacerbated by barriers to access

that are artificially created by health insurers’ manipulation of reimbursement and provider

networks. This will force many Americans to travel long distances or suffer lengthy delays to

receive medically necessary specialty care. Some patients may lose access altogether because

there are no essential specialists in their community or their insurer provider networks.

       Access to critically necessary specialty services, particularly in emergencies, will suffer

under the Final Rule for an additional reason. Physician specialists — particularly

neurosurgeons, orthopaedic surgeons and general surgeons — will find it more difficult to serve

“on-call” at hospitals due to insurer under-compensation and barriers to provider networks. Such

on-call specialists are critical to patient care, ensuring the highest possible quality of service and

patient safety for a variety of medical services, including lifesaving emergency services. This

will have dire implications for patients needing these services as emergency departments face

physician shortages and significant overcrowding.

       Emergency departments also serve as the site for primary care for many Americans, who

will lose access to basic care when emergency room physicians and other on-call specialists are

no longer available. Additionally, because certain specialists, such as anesthesiologists or

radiologists, are part and parcel of hospital surgical teams, their unavailability from provider

networks can deprive patients of needed, if not lifesaving, procedures.




       21
         See Ass’n of Amer. Medical Colleges (by HIS Markit Ltd.), “The Complexities of Physician
Supply and Demand: Projections from 2019 to 2034” (June 2021) at p. vii, available online here.




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       C.      The Final Rule will Spur Further Consolidation that Will Undermine
               Market Competition, Raise Costs, and Limit Patient Access.

       Giving insurers unfettered rate-setting ability will only exacerbate the significant

financial pressures that have forced many physician practices to sell to larger corporate entities

or join the employment ranks of large health care organizations. These alarming trends have

been reported in recent PAI-Avalere research.22

       In a study of physician practice trends between 2019-2021, Avalere researchers found a

19 percent increase in the percentage of physicians who left independent practices to become

employed in a health care organization and a 38 percent increase in the number of physician

practice acquisitions by hospitals and other corporate entities. The most recent data shows a

troubling national picture of corporate consolidation of physician practices: 73.9 percent of

physicians in the U.S. are now employed by hospitals and other corporate entities. In other

words, only one in four physicians practice independently.

       There is a large body of research showing that health care provider consolidation raises

prices and increases overall health care spending without clear indications of quality

improvements.23 Consolidation also undermines patient choice and continuity of care.

Ultimately, individual health insurance premiums will rise, as will the out-of-pocket costs for

health care that patients must bear. The Final Rule will exacerbate these worrisome trends.

                                        CONCLUSION

       For the foregoing reasons and the reasons in plaintiffs’ briefing on the merits, the amici

respectfully urge the Court to grant the plaintiffs’ motion for summary judgment.


       22
       See Avalere Health, “COVID-19’s Impact on Acquisitions of Physician Practices and Physician
Employment 2019-2021, PHYSICIANS ADVOCACY INST. (April 2022), online here.
       23
          See Karyn Schwartz et al., “What We Know About Provider Consolidation” Kaiser Family
Found. (Sept. 2, 2020), available online here.




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DATED: October 19, 2022.                        Respectfully submitted,

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                                                Association, Medical Society of New Jersey,
                                                Medical Society of the State of New York, North
                                                Carolina Medical Society, Oregon Medical
                                                Association, South Carolina Medical Association,
                                                Tennessee Medical Association, Washington State
                                                Medical Association, Texas Association of
                                                Neurological Surgeons, Texas College of
                                                Emergency Physicians, Texas Orthopaedic
                                                Association, Texas Radiology Society, Texas
                                                Society for Gastroenterology and Endoscopy,
                                                American Association of Neurological Surgeons,
                                                Congress of Neurological Surgeons, American
                                                Academy of Otolaryngology-Head and Neck
                                                Surgery, American Association of Orthopaedic
                                                Surgeons, American College of Hyperbaric
                                                Medicine, American College of Surgeons,
                                                American Osteopathic Association, American
                                                Society of Plastic Surgeons, Colorado Society of
                                                Anesthesiologists, Illinois Society of
                                                Anesthesiologists, and North American Spine
                                                Society



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                                CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). This document was also served on all counsel via e-mail
service, on this 19th day of October 2022.
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                                 CERTIFICATE OF SERVICE
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                                           APPENDIX
A.     Description of State Medical Associations

        California Medical Association: Founded in 1856 “to develop in the highest possible
degree, the scientific truths embodied in the profession,” the California Medical Association
(“CMA”) has served as a professional organization representing California physicians for more
than 160 years. Throughout its history, CMA has pursued its mission to promote the science and
art of medicine, protection of public health and the betterment of the medical profession. CMA
contributes significant value to its 50,000 members with comprehensive practice tools, services
and support including legislative, legal, regulatory, economic, and social advocacy. CMA works
to help reduce administrative burdens in physician practices, support physicians in providing
quality care and ensure they thrive amid industry consolidation.

       Connecticut State Medical Society: Since 1792, the Connecticut State Medical Society
(“CSMS”) has worked on behalf of physicians and patients in Connecticut. Through the CSMS,
physicians stand together regardless of specialty to ensure patients have access to quality care
and to make our state the best place to practice medicine and to receive care. CSMS is a
respected and powerful voice for the medical profession in Connecticut, representing 4,000
physician members and patients before the Connecticut General Assembly, state and federal
agencies, health plans, licensing boards, the judicial branch, and more.

        Medical Association of Georgia: Founded in 1849, the Medical Association of Georgia
(“MAG”) is the leading advocate for physicians in the state. MAG’s mission is to “enhance
patient care and the health of the public by advancing the art and science of medicine and by
representing physicians and patients in the policy making process.” With more than 8,400
members, including physicians in every specialty and practice setting, MAG’s membership has
increased by more than 35% since 2010.

       Kentucky Medical Association: Established in 1851, the Kentucky Medical Association
(“KMA”) is a professional organization for physicians throughout the Commonwealth.
Representing over 6,000 physicians, residents, and medical students, the KMA works on behalf
of physicians and the patients they serve to ensure the delivery of quality, affordable health care.
Members of KMA share a mission of commitment to the profession and services to the citizen of
the Commonwealth that extends across rural and urban areas. From solo practitioners to
academicians to large, multi-specialty groups, KMA is the only state association representing
every specialty and type of medical practice in Kentucky.

        Massachusetts Medical Society: The Massachusetts Medical Society (“MMS”) is the
statewide professional association for physicians and medical students, supporting 25,000
members. MMS is dedicated to educating and advocating for the physicians of Massachusetts
and patients locally and nationally. A leadership voice in health care, the MMS contributes
physician and patient perspectives to influence health-related legislation at the state and federal
levels, works in support of public health, provides expert advice on physician practice
management, and addresses issues of physician well-being. Under the auspices of its NEJM

     Appendix: Description of Medical Specialty Societies and State Medical Associations
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Group, MMS extends its mission globally by advancing medical knowledge from research to
patient care through the New England Journal of Medicine and other publications.

        Michigan State Medical Society: The Michigan State Medical Society (“MSMS”) is a
professional association which represents the interests of over 15,000 physicians in the State of
Michigan. Organized to promote and protect the public health and to preserve the interests of its
members, MSMS has frequently been afforded the privilege of acting as amicus curiae with
respect to legal issues of significance to the medical profession.

       Nebraska Medical Association: The Nebraska Medical Association (“NMA”) was
founded in 1868 and represents nearly 3,000 active and retired physicians, residents, and medical
students from across the state of Nebraska. NMA’s mission is “to serve physician members by
advocating for the medical profession, for patients and for the health of all Nebraskans.”

         Medical Society of the State of New York: The Medical Society of the State of New
York (“MSSNY”) is an organization of approximately 30,000 licensed physicians, medical
residents, and medical students in New York State. MSSNY is a nonprofit organization
committed to representing the medical profession as a whole and advocating health-related
rights, responsibilities, and issues. MSSNY strives to promote and maintain high standards in
medical education and in the practice of medicine in an effort to ensure that quality medical care
is available to the public.

        Medical Society of New Jersey: Founded in 1766, the Medical Society of New Jersey
(“MSNJ”) is the oldest professional society in the United States. The organization and members
are dedicated to a healthy New Jersey, working to ensure the sanctity of the physician-patient
relationship. In representing all medical disciplines, MSNJ advocates for the rights of patients
and physicians alike, for the delivery of the highest quality medical care. This allows response to
the patients’ individual, varied needs, in an ethical and compassionate environment, in order to
create a healthy Garden State and healthy citizens. With 9,500 members, MSNJ’s mission is “to
promote the betterment of the public health and the science and the art of medicine, to enlighten
public opinion in regard to the problems of medicine, and to safeguard the rights of practitioners
of medicine.”

       North Carolina Medical Society: North Carolina Medical Society (“NCMS”) was
founded in 1849 to advance medical science and raise the standards for the profession of
medicine. Today, with 8,000 members NCMS continues to champion these goals and ideals
while representing the interest of physicians and protecting the quality of patient care.

       Oregon Medical Association: Founded in 1874, the Oregon Medical Association
(“OMA”) is Oregon’s largest professional society engaging in advocacy, policy, community-
building, and networking opportunities for 8,000 of Oregon’s physicians, medical students,
physician assistants, and physician assistant students. OMA’s mission is to speak as the unified
voice of medicine in Oregon; advocate for a sustainable, equitable, and accessible health care
environment; and energize physicians and physician assistants by building and supporting their
community.


     Appendix: Description of Medical Specialty Societies and State Medical Associations
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        South Carolina Medical Association: Since 1789, the South Carolina Medical
Association (“SCMA”) has served as the foremost association of physicians dedicated to
pioneering advances in South Carolina’s health care. The largest physician organization in the
state, SCMA represents more than 6,000 physicians, resident, and medical students and through
that representation provides a voice for the medical profession and creates opportunities to
improve the health of all South Carolinians. SCMA works to promote the highest quality of
medical care through advocacy on the behalf of physicians and patients, continuing medical
education, and the promotion of medical and practice management best practices.

        Tennessee Medical Association: The Tennessee Medical Association (“TMA”)
advocates for policies, laws and rules that promote health care safety and quality for all
Tennesseans and improve the non-clinical aspects of practicing medicine. TMA’s mission is to
improve the quality of medical practice for physicians and the quality of health care for patients
by influencing policies, laws, and rules that affect health care delivery in Tennessee. On behalf
of 9,200 members, TMA works to be the most influential advocacy for Tennessee physicians in
the relentless pursuit of the best possible health care environment.

         Washington State Medical Association: The Washington State Medical Association
(“WSMA”), established in 1889, is the largest medical professional association in Washington
state, representing more than 12,000 physicians, physician assistants, and trainees from all
specialties and various practice settings throughout the state. WSMA’s mission is to advance
strong physician leadership and advocacy to shape the future of medicine and advance quality
care for all Washingtonians.

B.     Description of Medical Specialty Societies

       Texas Association of Neurological Surgeons: For the last 50+ years, the Texas
Association of Neurological Surgeons and its volunteer members have been working tirelessly to
advance the practice of neurosurgery throughout the State of Texas. Member education,
grassroots lobbying, and patient advocacy are just a few of the cornerstones of the association.
The purposes of the Texas Association of Neurological Surgeons is to promote and advance
neurological surgery within the State of Texas, advance the pursuit of excellence in neurological
surgery and related sciences through continuing education, and uphold the principles, policies,
and practices for the attainment of the best in neurosurgical patient care. Additionally, the
organization strives to provide a communication interface with other groups and represent
neurosurgical opinion to preserve and achieve the principles and purposes of the Association.

        Texas College of Emergency Physicians: The Texas College of Emergency Physicians
is a 501c(6) organization composed of over 2,168 emergency physicians in Texas. Our
membership includes emergency physicians who practice in a wide variety of settings, including:
large and small groups, academic centers, urban and rural, board certified and non-board
certified, residents, and medical students. Despite the varied backgrounds, they work together for
the common goal of furthering the specialty of emergency medicine in Texas. The Texas College
of Emergency Physicians exists to promote quality emergency care for all patients and to
represent the professional interests of our members.


     Appendix: Description of Medical Specialty Societies and State Medical Associations
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       Texas Orthopaedic Association: The Texas Orthopaedic Association was founded in
1936 as a voluntary organization of Texas orthopaedic surgeons. TOA’s mission is to ensure
outstanding musculoskeletal health for Texans. Approximately 1,400 Texas orthopaedic
surgeons are TOA members.

        Texas Radiology Society: The Texas Radiological Society is a professional, medical
society dedicated to serving, promoting and advancing the profession of radiology in Texas. TRS
membership is comprised of more than 2,900 Diagnostic Radiologists, Radiation Oncologists,
Medical Physicists, residents and fellows in training. From our humble beginnings more than
100 years ago to today, the organization has supported Radiologists with cutting edge training,
fellowships, scholarships, legislative advocacy, and support.

        Texas Society for Gastroenterology and Endoscopy: Texas Society for
Gastroenterology and Endoscopy is a statewide professional association for physicians. The
TSGE was founded in 1976 and it thrives today with over 800 members. TSGE’s primary roles
are 1) physician medical education, and 2) advocacy on behalf of patients.

       American Association of Neurological Surgeons: Founded in 1931 as the Harvey
Cushing Society, the American Association of Neurological Surgeons (“AANS”) is a scientific
and educational association with more than 13,000 members worldwide. Fellows of the AANS
are board-certified by the American Board of Neurological Surgery, the Royal College of
Physicians and Surgeons of Canada, or the Mexican Council of Neurological Surgery, A.C. The
mission of the AANS is to promote the highest quality of patient care and advance the specialty
of neurological surgery, which is the medical specialty concerned with the prevention, diagnosis,
treatment and rehabilitation of disorders that affect the spinal column, spinal cord, brain, nervous
system and peripheral nerves.

        Congress of Neurological Surgeons: Established in 1951, the Congress of Neurological
Surgeons (“CNS”) exists to enhance health and improve lives through the advancement of
neurosurgical education and scientific exchange. With over 10,000 neurosurgical professionals
from more than 90 countries, the CNS advances the practice of neurosurgery globally by
inspiring and facilitating scientific discovery and its translation to clinical practice. Quality
neurosurgical care is essential to the health and well-being of society. As such, the CNS, together
with the AANS, support a Washington Office that carries out their missions by promoting sound
health policy and advocating before the courts, regulatory bodies, and state and federal
legislatures, and other stakeholders.

        American Academy of Otolaryngology-Head and Neck Surgery: The American
Academy of Otolaryngology-Head and Neck Surgery (“AAO-HNS”) was founded in 1896 and
celebrated its hundred and twenty-fifth anniversary this year. The AAO-HNS serves its 12,000
United States members in many ways to ensure they are able to provide the highest quality care
to all patients. Its Core Purpose states: “We engage our members and help them achieve
excellence and provide high quality, evidence informed and equitable ear, nose, and throat care
through professional and public education, research, and health policy advocacy.”



     Appendix: Description of Medical Specialty Societies and State Medical Associations
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        American Association of Orthopaedic Surgeons: Representing more than 39,000
members, including Orthopaedic Surgeons and allied health care professionals in the
musculoskeletal medicine specialty, the American Association of Orthopaedic Surgeons
(“AAOS”) promotes and advocates the viewpoint of the orthopaedic community before federal
and state legislative, regulatory, and executive agencies. On behalf of its members, AAOS
identifies, analyzes, and directs all health policy activities and initiatives to position the AAOS as
the trusted leader in advancing musculoskeletal health.

        American College of Hyperbaric Medicine: The American College of Hyperbaric
Medicine was founded in 1983 in support of clinicians practicing hyperbaric medicine who
recognized the importance of therapeutic oxygen in clinical applications, especially wound
management. The ACHM is a professional society dedicated to appropriate utilization, standards
of care, education, training, certification, and recognition of hyperbaric oxygen therapy as a
distinct medical specialty.

        American College of Surgeons: The American College of Surgeons (“ACS”) is a
scientific and educational organization of surgeons that was founded in 1913 to raise the
standards of surgical practice and improve the quality of care for all surgical patients. The ACS
is dedicated to the ethical and competent practice of surgery. Its achievements have significantly
influenced the course of scientific surgery in America and have established it as an important
advocate for all surgical patients. The ACS has more than 84,000 members and is the largest
organization of surgeons in the world.

        American Osteopathic Association: The American Osteopathic Association (“AOA”)
represents more than 178,000 osteopathic physicians (DOs) and osteopathic medical students;
promotes public health; encourages scientific research; serves as the primary board certification
body for osteopathic physicians; and is the accrediting agency for osteopathic medical schools.
As the primary board certification body for osteopathic physicians and the accrediting agency for
all osteopathic medical schools, the AOA works to accentuate the distinctiveness of osteopathic
principles and the diversity of the profession. In addition to promoting public health and
encouraging scientific research, the AOA advocates at the state and federal levels on issues that
affect osteopathic physicians, osteopathic medical students, and patients.

        American Society of Plastic Surgeons: The American Society of Plastic Surgeons
(“ASPS”) is the world’s largest association of plastic surgeons. Its over 7,000 domestic members
represent 93 percent of Board-Certified Plastic Surgeons in the United States. ASPS’s mission is
to promote the highest quality in professional and ethical standards, advance quality care for
plastic surgery patients, and promote public policy that protects patient safety. ASPS’s members
are highly skilled surgeons who improve both the functional capacity and quality of life for
patients, including the reconstruction of defects caused by disease, congenital anomalies, burn
injuries, and traumatic injuries; the treatment of hand conditions; and the provision of gender
affirming care.

       Colorado Society of Anesthesiologists: The Colorado Society of Anesthesiologists is a
physician organization committed to patient safety, educational advancement, and providing the
best possible anesthesia care to our patients. The CSA is a statewide organization of

      Appendix: Description of Medical Specialty Societies and State Medical Associations
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anesthesiologists which serves as a resource for patients, physicians, and the public by defining
and advancing the standard of anesthesia care and supporting the practice of anesthesiology in
the state of Colorado.

        Illinois Society of Anesthesiologists: The Illinois Society of Anesthesiologists is a
membership organization of Illinois anesthesiologists focused on furthering patient safety and
the practice of our discipline through education, representation, and advocacy for our members.
We also provide our member physicians with opportunities to connect as a community through
events and networking opportunities.

       North American Spine Society: The North American Spine Society (“NASS”) is a
global multidisciplinary medical organization dedicated to fostering the highest quality, ethical,
value-based and evidence-based spine care through education, research and advocacy. With over
8,000 members, NASS represents orthopedic surgeons, neurosurgeons, physiatrists,
anesthesiologists, nurses, chiropractors, and many more across the United States, and provides a
broad array of support for its members through continuing medical educational programs, coding
and patient safety resources as well as coverage recommendations, clinical guidelines,
addressing issues related to spine research including the funding of grants and traveling
fellowships, and legislative advocacy.




     Appendix: Description of Medical Specialty Societies and State Medical Associations
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